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                                  Payment Plan Contract                                    Contract Code :MNTMAQN58934
                                                                                           Contract Status:Overdue



     BILL TO                                                  PAY TO
                                                              Business Name :Quick Flip Credit LLC
     Miss. Monique Thompson
                                                              Email :jeﬀdveloz@yahoo.com
     Email :chicana309@gmail.com                              Phone :+1-862-212-0917
     Phone :+1-689-248-8616
     Date of Birth :06-10-1981
     SSN :* * * * *4849
     DL Number :T51254181710

     Address :200 Saint Andrews Blvd #2306, Winter
     Park, Florida, 32792




               Next Payment Date                                           Recurring Amount

                     04-14-2022                                                   $235.76
                                                                               $228.89 + 3.00%

Note: All the payments will be displayed as DENEFITS* Quick Flip C on your Bank/Card statement.

Payment Plan Details

                              Est. Payment                                                         Total Number Of
   Est. Service Cost          Plan Amount             Down Payment         Interest Rate           Payments
   $2,800.00                  $2,800.00               $0.00                22% F                   12


   Customer Pay                                                            Recurring               Remaining
   Oﬀ Amount                  Total Balance           Enrollment Date      Starting Date           Payments
   $2,086.05                  $2,086.05               11-06-2021           12-06-2021              8

                                                                             F: Fixed Interest, C: Compound Interest




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                       Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                                Page 1 of 12
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                                  Payment Plan Contract                            Contract Code :MNTMAQN58934
                                                                                   Contract Status:Overdue


Service Cost Details
   S. No.                     Service                                                        Price


   1                          qfc credit repair                                              $2,800.00



Payment Details

   Transaction Date             Status             Payment Type                      Transaction Amount


   11-06-2021                   Refunded           Card Authorization                $1.00


   11-06-2021                   Paid               Deneﬁts Fee + Upfront Payment     $300.65


   12-06-2021                   Paid               First Recurring Payment           $270.65


   12-29-2021                   Paid               Recurring Date Edited             $19.36


   01-14-2022                   Paid               Recurring Payment                 $270.65


   02-14-2022                   Paid               Recurring Payment                 $270.65


   03-12-2022                   Paid               Recurring Payment                 $270.65


   04-21-2022                   Paid               Partial Payment                   $279.13

Note: All the payments will be displayed as DENEFITS* Quick Flip C on your Bank/Card statement.




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                               Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                       Page 2 of 12
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Need help with

    Change/modify your payment date


    Pay next recurring payment


    Add or change your payment source


    Payoﬀ the amount of your running contract


    Partial payment


    Report a problem ?
    Email atsupport@deneﬁts.comor report a problem via Deneﬁts App




Deneﬁts Customer Appis theOne-Stop Solutionfor all your payment plan-
related issues.
Scan to download the app and let Deneﬁts resolve all your queries in just a few clicks.




                                        Scan to Download App
                                                GET IN ON              Download on the
                                                Google play            App Store

                                                    www.deneﬁts.com




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                         Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||    jeﬀdveloz@yahoo.com

                                                                                                 Page 3 of 12
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                           TILA DISCLOSURE STATEMENT
                                    INSTALLMENT PAYMENT PLAN CONTRACT

 Date of Agreement:11-06-2021                                    Contract Number:MNTMAQN58934
 Business:Quick Flip Credit LLC                                  Name of customer:Miss. Monique Thompson
 Street Address:4 Cumberland CT                                  Street Address:200 Saint Andrews Blvd #2306




                                                                                                              C
 City, State:Somerset, New Jersey, 08873                         City, State:Winter Park Florida 32792
 Contact Email:jeﬀdveloz@yahoo.com                               Telephone Number:(689) 248-8616
                                                                 Email:chicana309@gmail.com




                                                                                                               L
 Servicer:Deneﬁts LLC
 Street Address:16500 Bake Pkwy




                                                                                             L
 City, State:Irvine, CA 92618
 Contact Email:support@deneﬁts.com

     Annual                   Finance Charge          Amount                 Total of                 Down Payment




                                                                                               t
     Percentage Rate                                  Financed               Payments




                                                                       id
                                                                             The amount you will      The Amount you
                                                                             have paid after          will pay at contract
                                                                             making all               creation.
                                                                             scheduled
                                                                             payments.

     22% F                      $209.45                $2,800.00              $3009.45                  $0.00


   Your payment schedule
   will be:



 Prepayment:
                                      Number of Payments

                                                12
                                                                          e
                                                                      Monthly Payment
                                                                           r
                                                                          $235.76
                                                                            C                When Payments Are Due

                                                                                                   14th of each month

 Late Charge: If a payment is one or more days past due, a fee of $25 will be imposed for each late payment.

  If you pay oﬀ the balance of your contract early, you will not be subject to a prepayment penalty. You will
  only be charged interest that has accrued up to the date of the prepayment.
                                                     p
 F: Fixed Interest C: Compound Interest

  Your contract at a glance:
                                                       i

  $2,800.00       Service Amount                                 THIS IS AN INSTALLMENT PAYMENT
                                                         l

                                                                 PLAN CONTRACT. THIS IS NOT A LOAN.
  $0.00          Down Payment Amount
                 F


  $2,800.00       Principal Amount
                                                                 IT IS YOUR RESPONSIBILITY TO REVIEW
  $209.45        Total Interest
                                                                 THE TERMS AND CONDITIONS OF THIS
  $262.77        Upfront Payment                                 CONTRACT BEFORE SIGNING. YOU ARE
                   k



  3.00%          Fee Per Transaction
                                                                 ENTITLED TO A COPY OF THE SIGNED
                                                                 CONTRACT.
  $30            Enrollment Fee
                    c




                                                  Service Cost Breakdown
                      i




                            Service                                                       Price
                        u




  qfc credit repair                                              $2,800.00
                         Q




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                           Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                                      Page 4 of 12
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  CREDIT CHECK
  Deneﬁts will not conduct a credit check as a part of this agreement. However, your service provider may
  check your credit before allowing you to apply for an Account.

  CREDIT REPORTING




                                                                                                      C
  Your payment activities may be reported to the credit bureaus. If your payment is 30 days past due, it may
  be reported as delinquent to the credit bureaus. The Business shall appear as the Original Creditor on your
  credit report.




                                                                                                       L
  PAYMENTS AND FEES
  Upfront Payment:An Upfront Payment shall be required to create the contract, as speciﬁed on Page 1 of




                                                                                         L
  TILA Disclosure. In the event that the contract service amount is increased, the upfront payment may be
  adjusted accordingly. The upfront payment is non-refundable after three (3) business days from the date of
  the contract.




                                                                                           t
  Enrollment Fee:Upon the creation of the contract, you shall be charged a one-time non-refundable
  Enrollment Fee as speciﬁed on Page 1 of TILA Disclosure.




                                                                       id
  Transaction Fee:The customer shall be charged a transaction fee on each payment, as speciﬁed on Page 1
  of TILA Disclosure.

  Payment Due Date Change Fee:You may change your monthly due date to a later date if your account is




                                                                          e
  current and your ﬁrst payment has been made. All Terms and Conditions of your contract remain in eﬀect
  until your account has been paid in full. For your protection, we may conﬁrm your identity as part of the due
  date change process. Payment Due Date Change may be done for a maximum of 15 days and up to 5 times
                                                                           r
  during the contract lifespan, subject to the terms provided in the Customer’s service agreement with the
  Business. You shall be responsible for paying this fee, as speciﬁed in Schedule A. There is no fee for
  changing the due date to an earlier date.
                                                                            C
  PAYMENT STRUCTURE
  Interest Rate:Customers expressly agree to the interest rate as speciﬁed on Page 1 of TILA Disclosure.
                                                    p
  Statement Descriptor:All payments shall appear asDENEFITS* Quick Flip Con the customer's Bank/Card
  statement.
                                                      i

                              RATES, FEES AND PAYMENT INFORMATION
                 F                                      l


     How Interest Is Calculated

      Your                 Your interest rate is calculated according to the amount ﬁnanced and the duration of
      Interest             the contract.
      Rate
                   k



      When We              We charge interest from the date you sign up for the payment plan.
      Charge
                    c



      Interest
                      i uQ




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                   Customer Signature
Quick Flip Credit LLC ||    +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                            Page 5 of 12
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    How We             We calculate the interest charge on your contract at the time of creation. We do this by
    Calculate          applying compound interest on the ﬁnance amount. Whatever interest is calculated of
    Interest           the contract term it is equally distributed over recurring payment every month. So
                       principal and interest paid remains the same every month. A portion of the interest is
                       taken by Deneﬁts as an upfront payment. If the term of contract is less than 13 months
                       then ﬁxed interest is applicable. If the term of contract is more than or equal to 13
                       months, compound interest is applicable. Note: Fixed interest is calculated on the




                                                                                                     C
                       ﬁnance amount only. In case social or partial payment is received, it goes to the
                       recurring amount. We divide the payment made by remaining terms or remaining
                       payments and hence reducing the recurring amount.




                                                                                                      L
                            CONSENT TO ELECTRONIC COMMUNICATIONS
  By applying for an Account, you hereby consent to receive electronic communications, including e-mail, text




                                                                                       L
  messages, and push notiﬁcations, about your Account. Your successful consent through the online or
  mobile app demonstrates that you are able to access the information posted on such online or mobile app.

  Categories of Communications




                                                                                         t
  You consent to receive all communications related to your Account in electronic form, including but not




                                                                      id
  limited to, (i) the initial disclosure statement or agreement governing your Account, (ii) any disclosure
  required by federal, state, or local law, including those under the Truth in Lending Act, Fair Credit Reporting
  Act, Equal Credit Opportunity Act, and the ﬁnancial privacy provisions of the Gramm-Leach-Bliley Act, (iii)
  billing statements, if you have signed up for electronic statements, letters, notices or alerts regarding your




                                                                         e
  Account and any changes to your Account, (iv) other disclosures, notices or communications in connection
  with the application for, opening of, maintenance of or collection of your Account. These electronic
  communications may include your name and some information about your Account, including your balance
                                                                          r
  or the due date; however, we will never include your social security number. Electronic communications
  may be reviewed by any party with access to your Account, the e-mail address you have provided to us for
                                                                           C
  delivering these communications, or the hardware or software you use to view your Account information or
  your e-mail address.

  How to Withdraw Your Consent
                                                   p
  You may not apply online for an Account or register your Account for online services unless you provide
  consent to receive electronic communications. If you have registered for online services and wish to
  withdraw your consent to receive future electronic communications, you must unenroll from each service
                                                     i

  you have elected to receive to completely withdraw your consent.
                                                       l

  We will not impose any fee to process the withdrawal of your consent to electronic communications.
                 F


  However, you will not be able to receive your billing statements electronically if you do not consent to
  receive electronic communications or withdraw your consent. Any withdrawal of your consent to electronic
  communications will be eﬀective only after we have a reasonable period of time to process your withdrawal
  request.
                   k



  How to Update Your Records
                    c



  You agree to promptly update your e-mail address, telephone number and address if a change occurs by
  updating your information through the website listed on your billing statement or by calling customer
  service.
                      i u




  Communications in Writing
  All communications in either electronic or paper format from us to you shall be considered “in writing.” It is
  your responsibility to print or download a copy of this consent, the Account agreement, the debt
                         Q




  cancellation agreement (if elected), and any other electronic communication that is important to you for your
  records.


Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                  Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                           Page 6 of 12
Case 6:23-cv-00650-PGB-RMN Document 18-1 Filed 01/02/24 Page 7 of 12 PageID 65
  Electronic Signatures
  You acknowledge that by clicking on the “Submit” or similar button, you are indicating your intent to sign up
  for electronic communications and that this shall constitute your signature.

  Federal Law




                                                                                                     C
  You acknowledge and agree that your consent is being provided in connection with a transaction aﬀecting
  interstate commerce that is subject to the federal Electronic Signatures in Global and National Commerce
  Act, and that you and we both intend that the Act apply to the fullest extent possible to validate our ability to
  conduct business and communicate with you by electronic means.




                                                                                                      L
  By agreeing to this document, you acknowledge that you have read and understand the terms of this
  Agreement, and that you intend to be legally bound by them.




                                                                                       L
                             NOTICE OF YOUR FINANCIAL PRIVACY RIGHTS
  RESTRICTION OF NON-PUBLIC INFORMATION ACCESS




                                                                                         t
  We hereby inform you that access to your non-public personal information is restricted to our employees
  who require such information to provide you with our products or services. We maintain the physical,




                                                                      id
  electronic, and procedural safeguards as required by our regulators to ensure the security of your personal
  information.

  INFORMATION TO NON-AFFILIATED THIRD PARTIES




                                                                         e
  In line with our commitment to maintaining the conﬁdentiality of your personal information, we hereby aﬃrm
  that we shall not disclose your non-public personal information to non-aﬃliated third parties except where
  required by law.

                                                STANDARD PROVISIONS
                                                                          rC
  Parties:This Agreement (the "Agreement") is entered into between a Business ("Business") and You, a
  person seeking to obtain services from the Business ("Customer" or "You").

  Business:The term "Business" is deﬁned as the person, entity, or company providing services to the
                                                   p
  customer who has enrolled in a Monthly Payment Plan with Deneﬁts.

  Installment Payment Plan:Deneﬁts provides an Installment Payment Plan to simplify and make the payment
  process convenient for you. In the event that you are experiencing any ﬁnancial hardship, the ﬁrst step is to
                                                     i

  reach out to Deneﬁts to see how we can assist you.
                                                       l

  Installment Payment Plan Terms:The payment terms that will apply to this contract will be speciﬁcally
                 F


  enumerated and agreed to by you in the form you ﬁll out when you agree to obtain an Installment Payment
  Plan from Business.

  HOW TO USE YOUR ACCOUNT
                   k



  Usage Of Account:The account provided to you by Deneﬁts shall only be used for lawful purposes and in
  accordance with this Agreement.
                    c



  Payment Obligations:You shall be responsible for paying all amounts owed under this Agreement. By using
  the Services, you promise to pay for all charges incurred under this Agreement.
                      i




  Account Responsibility:You shall not permit any other person to use your account. Any charges resulting
                        u




  from the use of your account by a third party shall be your sole responsibility to pay.
                         Q




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                  Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                           Page 7 of 12
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  BILLING INFORMATION
  Billing Partners:When making a payment through our platform, your payment card information is collected
  and stored by our payment processing partner. Our partner collects your payment card information
  necessary to process your payment. Such partner’s use and storage of information is governed by its
  applicable terms of service and privacy policy. We store only the necessary payment card information, such
  as the card type and last four digits.




                                                                                                    C
  Transaction Fee:A transaction fee shall be applied to all Customer payments, as speciﬁed in Schedule A.

  ACH Veriﬁcation:Our Auth product shall authenticate your accounts for ACH, eliminating the need for you to




                                                                                                     L
  enter account and routing numbers or deal with micro-deposits. The system authenticates accounts using
  online banking credentials, making it possible to begin transferring money immediately. Both consumer and
  business bank accounts are supported.




                                                                                      L
  ACH Payments:ACH payments may take up to seven (7) business days to clear

  ACH Fees:It is your responsibility to ensure that the funds are available at the time of processing. If your
  payment fails, you shall be responsible for the late fee. If your ACH fails, Deneﬁts reserves the right to




                                                                                        t
  charge the backup payment method on ﬁle with both payment and late fees.




                                                                      id
  Payment Options:You can make payments by mail, online, or over the phone. Payments must be made in
  U.S. dollars using physical (check or money order) or electronic payment methods, including Apple Pay and
  Google Pay.




                                                                         e
  Payment Allocation:We reserve the right to apply the required total minimum payment to balances on your
  account using any method we choose. Any payment made in excess of the required total minimum payment
  shall be applied to higher APR balances before lower APR balances. Applicable law may require or permit

  under a special promotion.
                                                                          r
  us to apply excess payments in a diﬀerent manner in certain situations, such as when your account is
                                                                           C
  Payment Billing:Deneﬁts is an installment payment plan servicer that collects payments and manages
  contracts on behalf of the Business. We shall attempt to communicate with you regarding your account by
  phone, text, letter, and/or email.

  Disputes:If a dispute arises between you and either Business or Deneﬁts, it is your responsibility to call
                                                   p
  immediately to avoid late fees. You can request a callback from the Deneﬁts website or send us
  correspondence about a disputed amount or payment. Such correspondence may be e-mailed to
  billing@deneﬁts.com. Acceptance of a payment marked “Payment In Full” or given with any other conditions
                                                     i

  or limitations shall not constitute a waiver of any of our rights under this Agreement.
                 F                                     l

  RECOVERY
  Overdue Accounts:In the event you miss a payment or your account is in an overdue state, Deneﬁts shall
  have the automatic right to deduct the outstanding amount from your bank account as soon as funds are
  available. Deneﬁts retains the right to sell or assign all overdue Customer account receivables to a third
                   k



  party at any time.

  Delinquent Accounts:Deneﬁts shall exercise its discretion to continue servicing past-due contracts on
                    c



  behalf of the Business from the customer accounts that have been sent to the billing department.

  Attorney’s Fees:If you fail to make a payment within 60 days of the due date, you shall be responsible for all
                      i




  reasonable attorney’s and court fees required to collect all outstanding amounts.
                        uQ




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                 Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                          Page 8 of 12
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  Arbitration:Any dispute, claim, or controversy arising out of or relating to this Agreement or any breach
  thereof, including any claim that this Agreement or any of its parts is invalid, illegal, voidable, or void, shall
  be resolved through arbitration administered by the American Arbitration Association (or any like
  organization successor thereto) in Orange County, California, in accordance with the American Arbitration
  Association’s Commercial Arbitration Rules. The arbitrability of any such dispute, claim, or controversy shall
  be determined in such arbitration. Both parties agree and consent to such venue and waive any objection




                                                                                                      C
  thereto. Such arbitration proceedings shall be conducted in an expedited manner in accordance with the
  commercial arbitration rules of the American Arbitration Association. The parties agree that the results,
  determinations, ﬁndings, judgments, and/or awards rendered through any such arbitration shall be ﬁnal and




                                                                                                       L
  binding and may be speciﬁcally enforced by legal proceedings. Regardless of which state laws govern this
  Agreement, all issues concerning arbitrability or the enforcement of the agreement to arbitrate herein shall
  be governed by the Federal Arbitration Act (9 U.S.C. §§ 1 et seq.) and the federal common law of arbitration.




                                                                                        L
  Class Waiver:Each party agrees that any dispute arising out of or in connection with this Agreement,
  whether in arbitration or court, shall be conducted solely on an individual basis and not in a class,
  consolidated, or representative action, to the fullest extent permitted by law. In the event that a claim or
  dispute proceeds in court rather than through arbitration, each party waives any right to trial by jury in any




                                                                                          t
  action, proceeding, or counterclaim arising out of or related to this Agreement or any of the transactions




                                                                      id
  between the parties.

  PERSONAL DATA WE COLLECT
  Notice to California consumers:This notice provides additional details regarding the personal information




                                                                         e
  that Deneﬁts collects about California residents and the rights aﬀorded to them under the California
  Consumer Privacy Act ("CCPA").

                                                                          r
  Collection, Use, and Disclosure of Personal Information:Deneﬁts may collect personal information from
  consumers over the past twelve (12) months, including the categories of sources from which that
                                                                           C
  information was obtained. Deneﬁts collects this information for the purposes described in the How We Use
  Personal Data section and shares it as described in the How We Disclose Personal Data section. Deneﬁts
  may use cookies, including advertising cookies, as described in our Cookies Policy.

  Your CCPA Rights and Choices:As a California consumer and subject to certain limitations under the CCPA,
                                                   p
  you have choices regarding our use and disclosure of your personal information:

  Exercising Your Right To Know:You may request, up to two (2) times in a 12-month period, the following
  information about the personal information we have collected about you during the past 12 months:
                                                     i l

         the categories and speciﬁc pieces of personal information we have collected about you;
                 F


         the categories of sources from which we collected the personal information;
         the business or commercial purpose for which we collected the personal information;
         the categories of third parties with whom we shared the personal information; and
                   k



         the categories of personal information about you that we disclosed for a business purpose.

  Exercising Your Right To Delete:You may request that we delete the personal information we have collected
                    c



  from you, subject to certain limitations under applicable law.

  Exercising The Right To Opt Out From A Sale:You may request to opt out of any “sale” of your personal
                      i




  information that may take place.
                        u




  Non-discrimination:The CCPA provides that you may not be discriminated against for exercising these rights.
                         Q




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                    Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                            Page 9 of 12
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  To submit a request to exercise any of the rights described above, you may contact Deneﬁts
  atlegal@deneﬁts.com. We may need to verify your identity before responding to your request.
  Authentication based on a government-issued and valid identiﬁcation document may be required. If you are
  a Customer of a Deneﬁts User, please direct your requests directly to the Deneﬁts User with whom you
  shared your personal information.

  Address and Phone Number Changes:You represent and warrant that any phone number provided to




                                                                                                   C
  Deneﬁts belongs to you or that you are authorized to provide such phone number. You also agree to notify
  Deneﬁts immediately of any changes to your address or phone number.




                                                                                                    L
  Consent to Communications:You consent to Deneﬁts, as well as any other owner or servicer of your
  account, contacting you through any channel of communication and for any purpose permitted by
  applicable law. For informational, servicing, fraud, or collection-related communications, you agree that




                                                                                      L
  Deneﬁts may use the phone numbers provided to them to contact your cellular phone or wireless device
  with text messages, artiﬁcial or prerecorded voice calls, and calls made by an automatic telephone dialing
  system. Text frequency may vary and may be recurring. You are responsible for any charges that may be
  billed to them by their communications carrier when contacted by Deneﬁts. Message and data rates may




                                                                                        t
  vary. Deneﬁts and any carrier are not liable for delayed or undelivered messages. Deneﬁts assures that all
  communications shall be in compliance with The Fair Debt Collection Practices Act (FDCPA).




                                                                      id
  Telephone Monitoring:You consent that all telephone conversations between you and Deneﬁts may be
  monitored and recorded for record-keeping, training, and quality assurance purposes, regardless of
  whether you reside in a one-party or two-party consent state.




                                                                         e
  CUSTOMER ACCOUNT OWNERSHIP AND CANCELLATION POLICY
  Cancellation:The Business has the sole authority to cancel the payment plan contract. Upon enrollment, the

  Agreement.
                                                                          r
  Customer shall be solely responsible for making all payments as per the other provisions of this
                                                                           C
  Refunds:No refunds will be provided once a Customer has enrolled in an installment payment plan contract.
  Any decision to refund money shall be solely made by the Business as per the mutually agreed terms.

  Right to Rescind:The customer has until midnight of the third business day to rescind the payment plan. To
                                                   p
  exercise the right to rescind, the customer shall notify the Business of the rescission by mail, email, or any
  other written means of communication. The Upfront Payment shall only be refunded within the three-day
  rescission time period.
                                                     i

  Refunds and Reversals:All refunds and reversals issued on behalf of the Business shall take up to 30
                                                       l

  business days, depending upon the bank. Some refunds, particularly those issued shortly after the original
                 F


  charge, may appear in the form of a reversal instead of a refund. In the case of a reversal, the original
  charge shall be removed from the customer’s statement, and a separate credit shall not be issued. No fees
  shall be charged to refund a charge, but the transaction fees from the original charge shall be non-
  refundable.
                   k



  BANKRUPTCY
  Notice of Bankruptcy:If a customer ﬁles for bankruptcy, the customer shall notify Deneﬁts immediately, along
                    c



  with a copy of the bankruptcy documentation as proof. This claim shall eﬀectively terminate all payment
  plans with Deneﬁts, and all payments to the Business for services received shall immediately cease.
                      i




  Furthermore, the customer will no longer be contacted by Deneﬁts. The Court notice and bankruptcy
  documentation shall be mailed to:
                        u




           Deneﬁts, LLC
           Attn: Legal Department
                         Q




           16500 Bake Pkwy,
           Irvine, CA 92618


Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                                 Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                        Page 10 of 12
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  An electronic copy may also be sent tolegal@Deneﬁts.com. A phone call shall not satisfy this requirement.

  Discharge:In the event a customer’s bankruptcy is discharged, Deneﬁts shall cancel the contract. However,
  a Chapter 7 bankruptcy may remain on your credit report for 10 years from the date of ﬁling. A Chapter 13
  bankruptcy, may remain on your credit report for 7 (seven) years from the date of ﬁling.

  Dismissal:If the bankruptcy is dismissed for any reason, Deneﬁts reserves the right to resume collection




                                                                                                C
  eﬀorts against the customer.

  IN THE EVENT OF A DEATH




                                                                                                 L
  Death of Customer:In the event of a death, the executor or personal representative for the Customer shall
  provide written notice to Deneﬁts of the death within 90 days.




                                                                                   L
  Collection of Outstanding Balance:Deneﬁts may collect the remaining balance of the payment plan contract
  from the deceased Customer’s estate. Deneﬁts shall never collect more than the amount owed to Deneﬁts.

  Notice and Documentation:The notice and copy of the death certiﬁcate shall be mailed to:




                                                                                     t
           Deneﬁts, LLC
           Attn: Legal Department




                                                                      id
           16500 Bake Pkwy,
           Irvine, CA 92618

  An electronic copy may also be sent tolegal@Deneﬁts.com.




                                                                         e
  ADDITIONAL PROVISIONS
  Means of Communication:The user ("Customer") acknowledges and consents to receiving communications
                                                                          r
  from Deneﬁts, LLC ("Deneﬁts") via phone, text, letter, and/or email when they create a payment plan
                                                                           C
  contract. To stop receiving communication from Deneﬁts, the Customer must submit a written request
  directly to Deneﬁts. Once the request is received, Deneﬁts will remove the Customer from its call list and
  only send correspondence regarding the outstanding debt via US Mail. The Customer must send the
  notiﬁcation to:

           Deneﬁts, LLC
                                                   p
           Attn: Legal Department
           16500 Bake Pkwy,
           Irvine, CA 92618
                                                     i

  The Customer may also emaillegal@Deneﬁts.com.
                 F                                     l

  AutomationThe Deneﬁts software provides automated notiﬁcations directly to the Customer via email and
  text message. These automated messages will include the reason for the notiﬁcation and a direct link to the
  Customer's account. The Customer agrees to receive these messages during the enrollment process but
  has the opportunity to opt-out at their convenience.
                   k



  Assignability:Deneﬁts reserves the right to assign the customer’s account to another party at any time. The
  Customer's responsibilities are non-transferable and non-assignable without written consent from the
  Business.
                    c




  Enforceability and Severability:Should any one or more provisions of this Agreement be determined to be
  unenforceable as to one or more of the parties hereto, all other provisions nevertheless shall remain
                      i




  eﬀective and binding upon the parties hereto.
                        uQ




Contract made in Oﬃce on11-06-2021 at 04:46 PM
IP:100.1.132.55
                                                                                              Customer Signature
Quick Flip Credit LLC ||   +1-862-212-0917 ||   jeﬀdveloz@yahoo.com

                                                                                                      Page 11 of 12
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    Governing Law:This Agreement and any matters hereunder shall be governed by and construed in
    accordance with the laws of the State of California, excluding its conﬂict of law rules. The Customer hereby
    consents to the exclusive jurisdiction of Orange County and the venue of the courts of the State of
    California with respect to the resolution of any suit, action, or proceeding hereunder.

    No Waiver:The failure or delay in exercising any right or remedy provided by this Agreement or by law shall
    not constitute a waiver of the right or remedy or a waiver of other rights or remedies. The single or partial
    exercise of any right or remedy provided by this Agreement or by law shall not preclude or restrict the




                                                                                                     C
    further exercise of any such right or remedy.

    Execution:Upon the signature of the Customer below, this agreement shall become binding and enforceable




                                                                                                      L
    by both parties.

    CHANGES TO TERMS OF USE




                                                                                       L
    These Terms of Use shall remain in full force and eﬀect while you use the Site and Mobile Apps. We
    reserve the right to change, modify, or update These Terms of Use and the other documents that are part
    of the Agreement at any time, as we reasonably deem appropriate.




                                                                                         t
    SCHEDULE A




                                                                  id
    Enrollment Fee: To be determined by the Business, a minimum of $30

    Late Fee: $25 per instance

    Cancellation Fee: $45.00




                                                                     e
    Payment Due Date Change Fee: This is calculated at the time of the request based on the recurring
    payment amount and the length of the extension requested. There is a minimum fee of $10.00.
                                                                      r
    Transaction Fee: $3.00 OR 3% whichever is higher. An additional $1.00 OR 1% (whichever is higher) will be
    charged as an overseas platform fee if you use a non-US debit/credit card.
                                                                       C
      Quick Flip Credit LLC
      Business

       Each party agrees that the electronic signatures, whether digital or encrypted, of the parties included
                                                p
       in this Agreement, are intended to authenticate this writing and to have the same force and eﬀect as
       manual signatures.
                                                  i

       I hereby certify that I have reviewed this disclosure along with the documents provided, and agree to
                                                    l

       the terms and conditions stated herein
                 F kc




                                                                                         11-06-2021 at 04:46 PM
                                                                           100.1.132.55 US (America/New_York)
                      i uQ




This is system generated statement. If you have any queries, you can reach us anytime at support@denefits.com.

                                                                                                          Page 12 of 12
